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October 12, 2020


Via ECF

The Honorable Lorna G. Schofield
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

          Re:    United States v. Stephen M. Calk, 19 Cr. 366 (LGS)

Dear Judge Schofield:

               We represent the defendant, Stephen M. Calk, in the above-captioned action.
Pursuant to 2(C) of the Court’s Emergency Individual Rules and Practices in Light of Covid-19
(June 26, 2020), we write in advance of the status conference scheduled for October 15, 2020, to
confirm Mr. Calk’s consent to participate telephonically in the proceeding.

Respectfully submitted,

/s/ Paul H. Schoeman

Paul H. Schoeman
Darren A. LaVerne

cc:       All counsel (via ECF)




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